*1234{¶ 1} This cause came on for further consideration upon the filing of an application for reinstatement by respondent, *409Edward James Mamone, Attorney Registration No. 0039310, last known business address in Cleveland, Ohio.{¶ 2} The court coming now to consider its order of November 8, 2016, wherein the court, pursuant to Gov.Bar R. V(12)(A)(3), suspended respondent from the practice of law for a period of one year, finds that respondent has substantially complied with that order and with the provisions of Gov.Bar R. V(24).*1235{¶ 3} Therefore, it is ordered by this court that Edward James Mamone is reinstated to the practice of law in the state of Ohio.{¶ 4} It is further ordered that the clerk of this court issue certified copies of this order as provided for in Gov.Bar R. V(17)(D)(1) and that publication be made as provided for in Gov.Bar R. V(17)(D)(2).